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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 ROWVAUGHN WELLS, INDIVIDUALLY                     )
 AND AS ADMINISTRATRIX OF THE                      )
 ESTATE OF TYRE DEANDRE NICHOLS,                   )
 DECEASED,                                         )
                                                   )
         Plaintiffs,                               )
                                                   )
 v.                                                )    CASE NO. 2:23-CV-02224
                                                   )    JURY DEMAND
 THE CITY OF MEMPHIS, A                            )
 MUNICIPALITY; CHIEF CERELYN DAVIS,                )
 IN HER OFFICIAL CAPACITY; EMMITT                  )
 MARTIN III, IN HIS INDIVIDUAL                     )
 CAPACITY; DEMETRIUS HALEY, IN HIS                 )
 INDIVIDUAL CAPACITY; JUSTIN SMITH,                )
 IN HIS INDIVIDUAL CAPACITY;                       )
 DESMOND MILLS, JR. IN HIS INDIVIDUAL              )
 CAPACITY; TADARRIUS BEAN, IN HIS                  )
 INDIVIDUAL CAPACITY; PRESTON                      )
 HEMPHILL, IN HIS INDIVIDUAL                       )
 CAPACITY; ROBERT LONG, IN HIS                     )
 INDIVIDUAL CAPACITY; JAMICHAEL                    )
 SANDRIDGE, IN HIS INDIVIDUAL                      )
 CAPACITY; MICHELLE WHITAKER, IN                   )
 HER INDIVIDUAL CAPACITY; DEWAYNE                  )
 SMITH, IN HIS INDIVIDUAL CAPACITY                 )
 AND AS AGENT OF THE CITY OF                       )
 MEMPHIS,
                                                   )
         Defendants.                               )


                                 JOINT STATUS REPORT


        Plaintiff RowVaughn Wells and Defendant City of Memphis (the “City”) (collectively, the

“Parties”), by and through their undersigned counsel, jointly submit the following status report

regarding their consultations concerning the City’s Motion to Compel and/or Certify Plaintiff’s



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Responses to City’s First Set of Interrogatory Requests and First Set of Requests for Production of

Documents (“Motion to Compel”) (ECF No. 217).

       1.      On October 9, 2024, the City filed its Motion to Compel and Memorandum in

Support. (ECF No. 217 and 217-1.)

       2.      On October 21, 2024, the Parties filed a joint Motion to Stay the City’s Motion to

Compel to allow the Parties an opportunity to resolve the issues raised in the City’s Motion without

Court intervention. (ECF No. 220.)

       3.      The Court granted the Parties’ Motion to Stay and ordered the Parties to file a status

update on the results of their consultations by November 11, 2024.

       4.      Since the City filed its Motion to Compel, the Parties have conferred via

videoconference and written correspondence on multiple occasions. As a result of these efforts,

the Parties have resolved many of the issues raised in the City’s Motion to Compel and are

continuing to discuss others.

       5.      To the extent the City believes that any issues raised in its Motion to Compel have

not been resolved and the parties have reached impasse, the City intends to file an amended motion

to compel by November 18, 2024 addressing such issues.



Dated: November 11, 2024
                                                          Respectfully submitted,



 ROMANUCCI & BLANDIN, LLC                                 BAKER, DONELSON, BEARMAN,
                                                          CALDWELL & BERKOWITZ, P.C.

 /s/ Joshua M. Levin                                      /s/ Bruce McMullen
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 hac vice)                                                Jennie Vee Silk (#35319)
 Bhavani K. Raveendran (Ill. Bar No. 6309968) (pro

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Attorneys for Plaintiff, RowVaughn Wells,
individually and as Administratrix Ad Litem of the
Estate of Tyre Deandre Nichols, deceased




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                                CERTIFICATE OF SERVICE

       I, Joshua M. Levin, hereby certify that on November 11, 2024, I electronically filed the

foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such

system will serve a copy of the foregoing upon all counsel of record in this action.


                                                     /s/ Joshua M. Levin
                                                     Joshua M. Levin




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